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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION



     UNITED STATES OF AMERICA,

             Plaintiff,

     vs.                                             CASE NO. 6:06-CR-166-ORL-19

     ANDREA MILLS,

             Defendant.



                                                ORDER

                  The United States Sentencing Commission has promulgated Amendment 706

     lowering the base offense level for cocaine base (crack cocaine) offenses by two levels for

     eligible defendants sentenced on or after November 1, 2007. The Commission later decided

     this Amendment should be applied retroactively to Defendants sentenced before November

     1, 2007. The Court has undertaken a preliminary review of Defendant's case, in which

     Defendant was sentenced prior to November 1, 2007. Based on that review, Defendant may

     be eligible for reduction in Defendant's base offense level. Accordingly, the Court acting

     on its own motion pursuant to 18 U.S.C. §3582(c)(2), issues the following Order:

             1)      The Office of the Federal Public Defender is appointed to represent

     Defendant for the purpose of seeking a reduction of Defendant's original sentence and shall

     file a notice of appearance, a notice of conflict, or a notice that Defendant is not eligible for

     the services of the Public Defender within seven (7) days of this Order. If a notice of

     conflict is filed, the Court may appoint CJA counsel to represent Defendant. This
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     appointment of counsel does not deprive Defendant of the right to retain private counsel

     should Defendant have the financial resources to do so.

            2)      The United States Attorney's Office shall cause a notice of appearance to be

     entered on behalf of the Government within seven (7) days of this Order.

            3)      The United States Probation Office shall provide this Court, Defendant's

     counsel, and Government counsel a supplemental presentence report within fifteen (15)

     days from the date of this Order, subject to an extension of time by Order of Court upon

     request by the Probation Office. The supplemental report shall address the issues of whether

     Defendant is eligible for a reduction of Defendant's sentence and, if so, whether Defendant

     is suitable for such a sentence reduction pursuant to the provisions of the Amendment and

     U.S.S.C. §1B1.10, which is scheduled to become effective on March 3, 2008. The

     supplemental report shall specifically include the following: (a) whether Defendant is

     eligible for a sentence reduction and, if so; (b) a proposed calculation of the new guideline

     range or the percentage below the guideline range as appropriate; (c) a report on the

     institutional adjustment of Defendant; (d) a report on the danger of Defendant to the public;

     (e) a report on the post-release plans of Defendant; and (f) Defendant's place of incarceration

     and whether that facility has video conferencing capability.

            4)      Defendant's counsel and the Government shall file a response to the Probation

     Office's supplemental report within five (5) days of receipt of the supplemental report. Prior

     to filing their responses, counsel shall confer personally in a good faith effort to resolve any

     disputes with regard to Defendant's eligibility and suitability for a sentence reduction and

     shall include in their responses the issues upon which they agree or disagree. In the event

     counsel agree that Defendant is eligible and suitable for a sentence reduction, they shall file
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     a stipulation to that effect.

             5)      Upon receipt of the Probation Office's report and counsels' responses (and

     stipulations, if any), the Court will either issue an Order based on the supplemental report

     and responses and stipulations or convene a hearing.

             6)      In the event the Court rejects a stipulation of counsel that Defendant is

     eligible and suitable for a sentence reduction, or a stipulation as to a proposed sentence, if

     any, the Court will enter an Order advising counsel of that fact and will allow counsel an

     additional period of time to supplement their responses before deciding the merits of the

     motion either on the written submissions or by way of a hearing as the Court determines.

             7)      Defendant is relieved of the responsibility of filing a separate motion

     requesting a sentence reduction.

             8)      The Clerk's Office is directed to furnish a copy of this Order to the Office of

     the Federal Public Defender, the United States Attorney's Office, the United States Probation

     Office, and the Defendant at Defendant's address of TALLAHASSEE FCI.

             DONE AND ORDERED at Orlando, Florida, this 31st                 day of January, 2008.
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     Copies to:

     All Counsel of Record
